USCA Case #25-5144         Document #2117914              Filed: 05/28/2025   Page 1 of 3



                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                      1:25-cv-01015-RCL
                                                       Filed On: May 28, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145
                                                                      1:25-cv-00887-RCL


Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants
USCA Case #25-5144         Document #2117914             Filed: 05/28/2025   Page 2 of 3

                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                     1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants



No. 25-5151
                                                                     1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants


                                        ORDER

      Upon consideration of the motion to consolidate, the motion to expedite No. 25-
5144 and the opposition thereto, and the en banc court’s May 28, 2025 order, it is

     ORDERED that the motion to consolidate and motion to expedite be dismissed
as moot. The en banc order addresses the coordination and expedition of the above-
USCA Case #25-5144       Document #2117914             Filed: 05/28/2025      Page 3 of 3

               United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
No. 25-5144                                              September Term, 2024

captioned cases and requests a briefing proposal. The parties may address
consolidation and expedition in their briefing proposal.


                                                       FOR THE COURT:
                                                       Clifton B. Cislak, Clerk

                                               BY:     /s/
                                                       Selena R. Gancasz
                                                       Deputy Clerk




                                        Page 2
